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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL BY THE OIL RIG                     §      MDL NO. 2179
“DEEPWATER HORIZON” IN THE GULF OF                  §
MEXICO, ON APRIL 20, 2010                           §      SECTION J
                                                    §
This Document Relates To:                           §
All cases, 2-10-cv-2771 and 2:10-cv-04536           §      JUDGE BARBIER
                                                    §
                                                    §      MAGISTRATE JUDGE SHUSHAN
                                                    §


         STATEMENT OF UNDISPUTED MATERIAL FACTS IN SUPPORT OF
          TRANSOCEAN’S MOTION FOR PARTIAL SUMMARY JUDGMENT
     AGAINST BP TO ENFORCE BP’S CONTRACTUAL OBLIGATIONS, INCLUDING
          BP’S OBLIGATION TO DEFEND, INDEMNIFY AND HOLD TRANSOCEAN
                     HARMLESS AGAINST POLLUTION CLAIMS


         Transocean Offshore Deepwater Drilling Inc., Transocean Deepwater Inc., Transocean

Holdings LLC and Triton Asset Leasing GmbH (collectively “Transocean”) hereby submit this

Statement of Undisputed Material Facts in support of Transocean’s Motion for Partial Summary

Judgment Against BP To Enforce BP’s Contractual Obligation To Defend, Indemnify And Hold

Transocean Harmless Against Pollution Claims pursuant to Federal Rule of Civil Procedure 56

and Local Rule 56.1 (February 2011).

1.       At the time of the accident, the Deepwater Horizon was engaged in exploratory drilling

activities at the Macondo Well (Mississippi Canyon Block 252), pursuant to the Drilling

Contract between Transocean and BP.

2.       The Deepwater Horizon became a total loss when, on April 22, 2010, the vessel sank into

the Gulf of Mexico after burning for two days following an onboard explosion.

3.       The Drilling Contract was executed on December 9, 1998, between Vastar Resources Inc.

and R & B Falcon Drilling Co. As recognized in amendments to the Drilling Contract, BP




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America Production Co. and Transocean Holdings Inc. are successors to Vastar and R & B

Falcon, respectively.

4.       The Drilling Contract contains cross-indemnities between Transocean (“Contractor”) and

BP (“Company”), under which each of the two parties committed defend and indemnify the

other against certain specified liabilities..

5.       For example, each party agreed to defend and indemnify the other from and against all

“CLAIMS, DEMANDS AND CAUSES OF ACTION” asserted by itself or its own

subsidiaries, officers, agents, employees, and their relatives for “PERSONAL INJURY,”

including death, arising out of or related to work performed under the Drilling Contract (full

capitalization and boldfacing in original).

6.       Insofar as pollution-related liabilities are concerned, the Drilling Contract provides, in

part, with respect to Transocean:


                CONTRACTOR SHALL ASSUME FULL RESPONSIBILITY
                FOR AND SHALL PROTECT, RELEASE, DEFEND,
                INDEMNIFY, AND HOLD COMPANY AND ITS JOINT
                OWNERS HARMLESS FROM AND AGAINST ANY LOSS,
                DAMAGE,    EXPENSE, CLAIM, FINE, PENALTY,
                DEMAND, OR LIABILITY FOR POLLUTION OR
                CONTAMINATION,     INCLUDING    CONTROL   AND
                REMOVAL THEREOF, ORIGINATING ON OR ABOVE THE
                SURFACE OF THE LAND OR WATER, FROM SPILLS,
                LEAKS, OR DISCHARGES OF FUELS, LUBRICANTS,
                MOTOR OILS, PIPE DOPE, PAINS, SOLVENTS,
                BALLAST, AIR EMISSIONS, BILGE SLUDGE, GARBAGE,
                OR ANY OTHER LIQUID OR SOLID WHATSOEVER IN
                POSSESSION AND CONTROL OF CONTRACTOR AND
                WITHOUT REGARD TO NEGLIGENCE OF ANY PARTY
                OR PARTIES AND SPECIFICALLY WITHOUT REGARD
                TO WHETHER THE SPILL, LEAK, OR DISCHARGE IS
                CAUSED IN WHOLE OR IN PART BY THE NEGLIGENCE
                OR OTHER FAULT OF COMPANY.

(emphasis added; full capitalization and boldfacing in original).




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7.       As for BP, the Drilling Contract provides in regard to pollution-related liabilities:

                COMPANY SHALL ASSUME FULL RESPONSIBILITY
                FOR AND SHALL PROTECT, RELEASE, DEFEND,
                INDEMNIFY, AND HOLD CONTRACTOR HARMLESS
                FROM AND AGAINST ANY LOSS, DAMAGE, EXPENSE,
                CLAIM, FINE, PENALTY, DEMAND, OR LIABILITY FOR
                POLLUTION OR CONTAMINATION, INCLUDING
                CONTROL AND REMOVAL THEREOF, ARISING OUT OF
                OR CONNECTED WITH OPERATIONS UNDER THIS
                CONTRACT HEREUNDER AND NOT ASSUMED BY
                CONTRACTOR IN ARTICLE 24.1 ABOVE, WITHOUT
                REGARD FOR NEGLIGENCE OF ANY PARTY OR
                PARTIES AND SPECIFICALLY WITHOUT REGARD FOR
                WHETHER THE POLLUTION OR CONTAMINATION IS
                CAUSED IN WHOLE OR IN PART BY THE NEGLIGENCE
                OR FAULT OF CONTRACTOR.

(emphasis added; full capitalization and boldfacing in original).

8.       Article 25.1 defines the “Indemnity Obligation” as follows:

                EXCEPT TO THE EXTENT ANY SUCH OBLIGATION IS
                SPECIFICALLY LIMITED TO CERTAIN CAUSES
                ELSEWHERE IN THIS CONTRACT, THE PARTIES
                INTEND AND AGREE THAT THE PHRASE ‘SHALL
                PROTECT, RELEASE, DEFEND, INDEMNIFY AND HOLD
                HARMLESS” MEANS THAT THE INDEMNIFYING
                PARTY SHALL PROTECT, RELEASE, DEFEND,
                INDEMNIFY,     AND   HOLD     HARMLESS    THE
                INDEMNIFIED PARTY OR PARTIES FROM AND
                AGAINST ANY AND ALL CLAIMS, DEMANDS, CAUSES
                OF    ACTION,    DAMAGES,   COSTS,  EXPENSES
                (INCLUDING    REASONABLE    ATTORNEYS   FEES),
                JUDGMENTS AND AWARDS OF ANY KIND OR
                CHARACTER, WITHOUT LIMIT AND WITHOUT
                REGARD TO THE CAUSE OR CAUSES THEREOF,
                INCLUDING PREEXISTING CONDITION, WHETHER
                SUCH CONDITIONS BE PATENT OR LATENT, THE
                UNSEAWORTHINESS OF ANY VESSEL OR VESSELS
                (INCLUDING THE DRILLING UNIT), BREACH OF
                CONTRACT, STRICT LIABILITY, TORT, OR THE
                NEGLIGENCE OF ANY PERSON OR PERSONS,
                INCLUDING THAT OF THE INDEMNIFIED PARTY,
                WHETHER SUCH NEGLIGENCE BE SOLE, JOINT OR

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                   CONCURRENT, ACTIVE, PASSIVE OR GROSS OR ANY
                   OTHER THEORY OF LEGAL LIABILITY AND WITHOUT
                   REGARD TO WHETHER THE CLAIM AGAINST THE
                   INDEMNITEE    IS   THE    RESULT    OF   AN
                   INDEMNIFICATION AGREEMENT WITH A THIRD
                   PARTY.

(emphasis added; full capitalization and boldfacing in original).

9.       The Drilling Contract was amended on numerous occasions between December 9, 1998,

and April 20, 2010.

10.      Article    27.3 of the Drilling Contract provides that the termination of the Drilling

Contract shall be immediate in the event of actual or constructive total loss of the Drilling Unit.

11.      Article 27.4 of the Drilling Contract provides that notwithstanding the termination of the

Drilling Contract, the parties shall continue to be bound by the provisions of the contract “that

reasonably require some action or forbearance after the expiration” of the Drilling Contract.

12.      Article 25.2 of the Drilling Contract provides that “[t]o the extent a party is entitled to

indemnification in Articles 21, 22, 23, and 24, such party’s parent, subsidiaries, affiliates, co-

owners and joint venturers (if any), and their respective officers, directors, agents and

employees, the drilling unit and its legal and beneficial owners, in rem or in personam shall also

be entitled to such indemnification and defense thereunder.”

13.      Article 35.3 of the Drilling Contract provides that the contract “shall be construed and the

relations between the parties determined in accordance with the General Maritime Law of the

United States of America, not including, however, any of its conflicts of law rules which would

direct or refer to the laws of another jurisdiction.”

14.      All of the contracts applicable to the Gulf of Mexico between BP and Transocean entities

effective on April 20, 2010 expressly provide for indemnity despite gross negligence.

15.      Two of BP’s contracts with another drilling contractor, both executed in 2008, expressly

include indemnity in spite of gross negligence.


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16.      The originally executed drilling contract between BP and Transocean for the Enterprise

provided indemnity notwithstanding gross negligence. When BP and Transocean executed an

extension of this drilling contract on July 21, 2011, the indemnity obligations remained

consistent and this obligation was not eliminated.

17.      BP’s contracts with numerous subcontractors working at the Macondo prospect expressly

include indemnity despite gross negligence.

18.      BP’s contracts with subcontractors at Macondo that do not include indemnity for gross

negligence nonetheless affirm the obligation to defend in the face of allegations of gross

negligence.

19.      A major BP contract for use of a vessel as part of the post-incident response expressly

provides indemnity despite gross negligence.

20.      The indemnity obligations contained in the industry-standard, form contracts of the

International Association of Drilling Contractor (IADC), like those in the Drilling Contract,

expressly include indemnity for gross negligence.

21.      By letter dated May 10, 2010, Transocean tendered its defense and indemnity demand to

BP. In this same letter, Transocean agreed to defend and indemnify BP for personal injury

claims asserted by Transocean employees against BP.

22.      In response to Transocean’s demand for defense and indemnity, on June 25, 2010, BP

reserved its rights, effectively refusing to defend and / or indemnify Transocean. BP contended

that indemnification for gross negligence was void as a matter of law and, in the face of

allegations of gross negligence and ongoing investigations, it had no obligation to defend or

indemnify Transocean.

23.      On July 9, 2010, Kirk Wardlaw of BP sent a letter to Jim Bryan and Robert Reeves of

Anadarko with respect to invoices due under the Joint Operating Agreement. This document is

designated as “Confidential” and, therefore, is not quoted herein.
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24.       Despite BP’s prior protestation that indemnity obligations for gross negligence are

unenforceable as a matter of law, on August 31, 2010, BP amended a drilling contract with

another drilling contractor to expand the scope of the indemnity obligations to expressly include

indemnity for gross negligence.

25.       Notwithstanding its position that gross negligence indemnity obligations are

unenforceable, BP entered into settlement agreements with Moex, Weatherford, and Anadarko

on May 20, 2011; June 20, 2011; and October 16, 2011; respectively, which provide indemnity

for compensatory damages in the face of gross negligence. These documents are designated as

“Highly Confidential” and, therefore, are not quoted herein.

26.       In excess of one hundred witnesses—including those of Transocean, BP, government

inspectors, third-party inspectors, Halliburton / Sperry Sun, Cameron, and other third parties—

testified that they did not observe grossly negligent conduct or unsafe conditions and affirmed

the competency of the Deepwater Horizon’s crew.

27.       From the BP rig crew to the highest levels of BP’s management, BP employees have

consistently praised the Transocean rig crew and rig and affirmed that Transocean was not

grossly negligent. Ronnie Sepulvado, a BP Company Man onboard the rig, testified that the rig

was his “home away from home.” He trusted the Deepwater Horizon crew and believed they

were “good people, good workers and good safety people” who would not lie or hide safety

issues.      In particular, he complimented Transocean crew members Dewey Revette, Jason

Anderson, Jimmy Harrell, Stephen Curtis, Curt Kuchta, and Randy Ezell, which he described as

competent, capable, and demonstrating good attitudes toward safety. He believed that Revette

and Harrell held safety as a number one priority. Sepulvado testified that if the Deepwater

Horizon’s crew was on a different rig today, he would feel comfortable working with every one

of them.       Likewise, Doug Suttles, former BP Chief Operating Officer, testified that the

individuals he encountered at Transocean “were professional, knowledgeable industry executives
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in [his] experience.” He agreed that Transocean was not indifferent or callous to the health and

welfare of rig personnel or the environment in connection with its drilling operations. As of

April 20, 2010, no one had ever suggested to Suttles that the Deepwater Horizon should be taken

out of service or that BP should stop utilizing Transocean as a drilling contractor. Furthermore,

BP’s former Chief Executive Officer, Tony Hayward, testified that during his time at BP at no

point did anyone in senior management come to him and indicate concerns that Transocean or its

employees exhibited a philosophy of indifference to the welfare of the environment or the health

of individuals. Hayward admitted that, if that had been the case, “others would have taken action

before it got to [him], [he is] certain.” He also acknowledged that Transocean is “one of the

world’s largest and most respected drilling contractors” and “as of the time [he] left BP, one of

the preferred providers throughout the world for BP in drilling its deepwater wells.”

28.      Mark Bly, who spearheaded BP’s internal investigation, testified that the Deepwater

Horizon was “one of the best rigs in the fleet” and “had as much precaution and technology that

exists in the industry.” He further stated that the crew aboard the Deepwater Horizon had all

“the requisite training records.” Additionally, he affirmed that BP's investigation uncovered

absolutely no evidence that any company or person maliciously, deliberately, or intentionally

caused injury to other humans or to the environment. Mr. Bly personally saw no malicious intent

in anything he reviewed.

29.      BP has refused to pay approximately $11.7 million in invoices properly billed by

Transocean. On or about December 15, 2010, BP stated it would not pay certain amounts

invoiced “at this time” based on “developing facts regarding the manner in which Transocean

performed drilling operations on the Macondo well.” At the time of the filing of this pleading,

the amounts remain due.




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                                CERTIFICATE OF SERVICE

         I hereby certify that the above and foregoing pleading has been electronically filed

through the Court’s CM/ECF system and served on all counsel of record though LexisNexis File

& Serve, in accordance with Pretrial Order No. 12, which will send a notice of electronic filing

to all counsel of record on this 1st day of November, 2011.


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